                                          Case 4:17-cr-00462-JSW Document 17 Filed 10/04/17 Page 1 of 1




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                                   4                                  UNITED
                                                                           D STATES D
                                                                                    DISTRICT C
                                                                                             COURT

                                   5                                NORTHER
                                                                          RN DISTRIC
                                                                                   CT OF CALIIFORNIA

                                   6

                                   7    UNITED
                                        U      STA
                                                 ATES OF AM
                                                          MERICA,                            Case No. 117-cr-00462-JSW-1

                                   8                   Plaintiff,
                                                                                             ORDER T
                                                                                                   TO SHOW C
                                                                                                           CAUSE
                                   9            v.

                                  10    JO
                                         OB TORRES
                                                 S HERNAN
                                                        NDEZ,
                                  11                   Defendant..

                                  12
Northern District of California
 United States District Court




                                  13          On Octtober 3, 2017
                                                                7, the Court held a statuss conferencee in this casee. Under the Court’s

                                  14   Criiminal Stand
                                                     ding Orders:

                                  15                  [u]nless thee Court graants a writtten motion, filed sufficciently in
                                                      advance off a court date for th      the Court tto rule, annd which
                                  16                  demonstratees good cau  use to permiit alternate counsel to appear in
                                                      lead counseel’s place, th
                                                                              he parties shaall appear inn person throough lead
                                  17                  trial counsell . . . .
                                  18   Criiminal Stand
                                                     ding Order ¶ 3. Jesse Gaarcia, Esq., leead counsel for Defendaant, did not aappear at thee

                                  19   status conferen
                                                     nce and insteead sent one of his colleaagues. No tiimely writtenn motion reqquesting

                                  20   perrmission for alternate counsel to app
                                                                              pear was filedd.

                                  21          Accord
                                                   dingly, Jesse Garcia, Esq
                                                                           q. is ORDER
                                                                                     RED TO SHO
                                                                                              OW CAUSE
                                                                                                     E why he shoould not be

                                  22   san
                                         nctioned in th
                                                      he amount of
                                                                o $250.00 fo
                                                                           or his failuree to comply w
                                                                                                     with the Couurt’s standinng order. Mrr.

                                  23   Gaarcia’s respon
                                                      nse to this Order
                                                                  O     to Show
                                                                              w Cause shaall be due byy October 111, 2017.

                                  24          IT IS SO
                                                    S ORDER
                                                          RED.

                                  25   Daated: Octoberr 4, 2017

                                  26                                                     __________________________________________
                                                                                         JEFFFREY S. W WHITE
                                  27                                                     Unnited States D
                                                                                                        District Judgge
                                  28
